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                               UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF HAWAU

       ME2 Productions, Inc. et al.                  )
                                                    )
                 Plaintiff                          )     C ivil Action No: 1: 17-cv-00320-JMS-RLP
                      v                             )
 Dragon Media, Inc. d/ b/a Dragon Box et al.        )    ANSWER TO FOURTH AMENDED
                                                    )    COMPLAINT.
               Defendant                            )


                                               ANSWER, Pro Se,

Defendant Jason Barnhart, Pro Se, pursuant to this courts request and dated May 2, 2018 answers the
fourth amendment complaint as follows:

       I.      Defendant Barnhart hereafter refers to as "JB" denies the allegation in paragraphs
               1-2-3-4-5-6-7.

       II.     JB lacks information sufficient to form a belief as to allegation of paragraphs 8-9-
               10-11-12-13-14-15 and so denies them.

       Ill.    JB denies the allegation of paragraphs 16 through 99 inclusive, as he lacks any
               information concerning these allegations.

                                       AFFIRMATIVE DEFENSES

JB asserts affirmative defenses, pursuant to Rule 12, FRCP, the following :

   (1) lack of subject-mater jurisdiction;

   (2) lack of personal jurisdiction;

   (4) insufficient process;

   (5) insufficient service of process;

   (6) failure to state a claim upon which relief can be granted; and

   (7) failure to join a party under Rule 19.
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Date:   May 18, 2018                            Jason Barnhart

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                                                          Attorney Pro Se
